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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
SEADRILL LIMITED, et al.,1                                           )   Case No. 17-60079 (DRJ)
                                                                     )
                           Debtors.                                  )   (Jointly Administered)
                                                                     )   Re: Docket No. 200

                        ORDER PURSUANT TO
                  SECTION 327(E) OF THE BANKRUPTCY
                  CODE AUTHORIZING AND APPROVING
               EMPLOYMENT AND RETENTION OF CONYERS
             DILL & PEARMAN LIMITED AS SPECIAL COUNSEL
    FOR THE DEBTORS EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

         Upon the application (the “Application”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”) for entry of an order (this “Order”),

(a) authorizing the retention and employment of Conyers Dill & Pearman Limited (“Conyers”)

as special counsel for the Debtors, effective nunc pro tunc to the Petition Date, in accordance

with the terms and conditions of those certain engagement letters, dated as of February 26, 2016

and July 7, 2017 (together, the “Engagement Letter”), annexed as Exhibit 1 to the Order; and

(b) granting related relief, all as more fully set forth in the Application; and upon the

Mayor Declaration and the Edwards Declaration; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

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    Due to the large number of Debtors in these chapter 11 cases, which are being jointly administered, a complete
    list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not provided
    herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims
    and noticing agent at http://cases.primeclerk.com/Seadrill. The location of Debtor Seadrill Americas, Inc.’s
    principal place of business and the Debtors’ service address in these chapter 11 cases is 11025 Equity Drive,
    Suite 150, Houston, Texas 75201.
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    Capitalized terms used but not defined herein have the meanings given to them in the Application.
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proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Application is in the best interests of

the Debtors’ estates, their creditors, and other parties in interest; and this Court having found that

the Debtors’ notice of the Application and opportunity for a hearing on the Application were

appropriate and no other notice need be provided; and this Court having reviewed the

Application and having heard the statements in support of the relief requested therein at a

hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Application and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted as set forth herein.

       2.      The Debtors are authorized to employ Conyers as special counsel in accordance

with section 327(e) of the Bankruptcy Code, Rule 2014 of the Bankruptcy Rules, and

Rule 2014-1 of the Local Rules on the terms and conditions set forth in the Engagement Letter,

nunc pro tunc to the Petition Date.

       3.      Conyers shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the

Court. Conyers also intends to make a reasonable effort to comply with the U.S. Trustee’s

requests for information and additional disclosure as set forth in the Guidelines for Reviewing

Applications for Compensation and Reimbursement of expenses Filed under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases effective as of November 1, 2013, both in connection with



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the Application and the interim and final fee applications to be filed by Conyers in these

chapter 11 cases.

       4.      Prior to any increases in Conyers’ rates with respect to this Order and the

Application, Conyers shall file a supplemental affidavit with the Court and provide ten business

days’ notice to the Debtors, the United States Trustee and any official committee, which

supplemental affidavit shall explain the basis for the requested rate increases in accordance with

section 330(a)(3)(F) of the Bankruptcy Code and state whether the Debtors have consented to the

rate increase. The United States Trustee retains all rights to object to any rate increase on all

grounds including, but not limited to, the reasonableness standard provided for in section 330 of

the Bankruptcy Code, and all rates and rate increases are subject to review by the Court.

       5.      Conyers is hereby authorized to keep reasonably detailed time records in

one-tenth (0.1) hour increments and will submit, with any interim or final fee application,

together with the time records, a narrative summary, by project category, of services rendered

and will identify each professional rendering services, the category of services rendered, and the

amount of compensation requested.

       6.      Notwithstanding      anything    to    the   contrary      in   the   Application,   the

Engagement Letter, or the Declarations attached to the Application, Conyers will maintain the

retainer until the conclusion of its representation of the Debtors, at which time Conyers will

apply the retainer to its final invoices or otherwise return the funds.

       7.      Notwithstanding anything to the contrary in the Engagement Letter, Conyers shall

not withdraw as Debtor’s special counsel prior to the effective date of any chapter 11 plan

confirmed in these chapter 11 cases without prior approval of the Court.




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       8.      Notice of the Application as provided herein shall be deemed good and sufficient

notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the Local Rules

are satisfied by such notice.

       9.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

       11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Victoria, Texas
Dated: ____________, 2017

                                                 THE HONORABLE DAVID R. JONES
                                                 UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT 1

                       Engagement Letter
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